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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                      October 27, 2022


VIA ECF

Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl St.
New York, New York 10007

   Re:     United States v. Olga Shriki, S1 22 Cr. 518 (PKC)


Dear Judge Castel:

       The Government writes to submit the attached proposed protective order pertaining to the
Government’s production of discovery material in this matter, and respectfully requests that the
Court enter the proposed protective order. The defendant and her counsel have consented to the
entry of this protective order, as indicated by their signatures on the signature page. The
Government anticipates beginning the production of discovery to the defendant prior to the initial
conference in this matter, currently scheduled for November 15, 2022 at 3 p.m. The Government
will be prepared to discuss the status of discovery, among other matters, at the upcoming
conference.


                                               Respectfully submitted,

                                               DAMIAN WILLIAMS
                                               United States Attorney


                                         by:      /s/
                                               Anden Chow / Vladislav Vainberg
                                               Assistant United States Attorneys
                                               (212) 637-2348 / 1029
